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UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC#

 

 

DATE FILED: epee 1A.
D’AMICO DRY D.A.C.,

Plaintiff, O9-cav-7840 (JGK)

- against - MEMORANDUM OPINION
AND ORDER

 

PRIMERA MARITIME (HELLAS) LIMITED,
ET AL,,

Defendants.

 

JOHN G. KOELTL, District Judge:

The plaintiff, d’Amico Dry D.A.C., moves for attorneys’
fees and costs related to recovering the English Judgment owed

to it by the defendants. See D’Amico Dry D.A.C. v. Primera Mar.

 

(Hellas) Ltd., 348 F. Supp. 3d 365 (S.D.N.Y¥. 2018}. Fifteen of
the defendants in this case! oppose the motion. The plaintiff
seeks $1,746,415.73 in fees and costs, covering the nearly ten
years of litigating this case in this Court,? as well as two
other actions in two other courts - one in Texas and one in
Alabama. See Tisdale Decl. (4 59-61. The plaintiff’s motion is
granted, but, for the reasons explained below, the award is

limited to $898,807.44 in attorneys’ fees and costs.

 

i The defendants opposing the motion are: Adalia Marine Co. Ltd.;
Annamar Navigation Inc.; Bulknav Inc.; Caldera Marine Co. Ltd.; Chemnav Inc.;
Chemnay Shipmanagement Ltd.; Element Finance Inc.; Handy Finance Inc.; Mirage
Finance Inc.; Movida Finance Inc.; Pasha Finance Inc.; Primebulk
Shipmanagement Ltd.; Seasafe Navigation Inc.; Seasatin Navigation Inc.; and
Sonic Finance Inc.

* The application includes fees and costs related to making and
litigating this fee application itself.

 
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As explained in this Court’s December 22, 2018 Opinion and
Order, the English Judgment and the Forward Freight Agreement
between the plaintiff and defendant Primera Maritime (Hellas)
Limited provided for future legal fees incurred in collecting
the English Judgment after it was entered on June 19, 2009.
D’Amico, 348 F. Supp. 3d at 394. The defendants argue for the
first time in opposing the plaintiff’s motion for attorneys’
fees that the English Judgment, which incorporates Section 11 of
the ISDA Master Agreement, does not provide for postjudgment
attorneys’ fees - in other words, fees relating to legal efforts
made in collecting the English Judgment. The defendants add,
also for the first time in opposition to this motion, that
Article 53 of New York’s Uniform Foreign Country Money-Judgments
Recognition Act, N.Y. CPLR § 5303, precludes courts from
recognizing an attorneys’ fees award in a foreign judgment if
that judgment does not set out a “sum of money” for attorneys’
fees.

The plaintiff sought attorneys’ fees pursuant to the
English Judgment and the Forward Freight Agreement in its
briefing related to the bench trial in this case. In response to
the plaintiff’s request for attorneys’ fees, the defendants did
not make the arguments they make now, regarding the scope of the
English Judgment, Section 11 of the ISDA Master Agreement, and

N.Y. CPLR § 5303. And following the bench trial, the Court held

 
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that the plaintiff was entitled to attorneys’ fees. D'Amico, 348
F. Supp. 3d at 394. The defendants have therefore waived the
arguments they advance now to the effect that the plaintiff is
not entitled to an award of attorneys’ fees. The plaintiff is

entitled to attorneys’ fees. See Oocl (USA) Inc. v. Transco

 

Shipping Corp., No. 13cv5418, 2016 WL 4481153, at *4 (5.D.N.Y.
Aug. 23, 2016); Gentle Wave Shipping S.A. v. Transfield Shipping
Inc., No. 09cv7909, 2010 WL 571975, at *1 (S.D.N.¥. Feb. 16,
2010). The English Judgment expressly provides that the
defendants will indemnify the plaintiff for “all reasonable out-
of-pocket expenses, including legal fees . . . incurred by the
[plaintiff] by reason of the enforcement and protection of its
rights under this Agreement, including . . . costs of
collection.” Dkt, No. 6-1. Section 11 of the ISDA Master
Agreement states nothing to the contrary. See Dkt. No. 14-2 at
35 (providing for costs incurred, including legal fees, by a
party collecting against a defaulting party). And N.Y. CPLR

§ 5303 - a state, not federal, law - does not invalidate foreign
judgments that provide for legal fees incurred in collecting
upon those judgments but that do not set the fees out in a “sum
of money.” Nor does the provision preclude enforcement of such
foreign judgments in federal court; rather, the provision sets
forth what types of foreign judgments are conclusive and can be

enforced by certain actions in New York State courts.

 
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The defendants next argue that the plaintiff should not be
awarded fees that accrued in the period that relates solely to
litigating the subject matter jurisdiction of this action. They
contend that this issue was “self-created” and unnecessary
because the plaintiff could have filed this suit in New York
State court. The defendants contend that the Court must
therefore deduct $160,277.63 from any fees awarded to the
plaintiff, which reflects fees accrued during the period in
which subject matter jurisdiction was at issue.

As explained by this Court previously, this argument is
totally without merit. See D’Amico Dry D.A.C. v. Primera Mar.
(Hellas) Ltd., No. 09cv7840, 2019 WL 1294283, at *1 (S.D.N.Y.
Mar. 20, 2019). Primera attempted to avoid jurisdiction in the
courts by withdrawing its registration with New York State.
Moreover, the defendants themselves have resisted this case
through numerous procedural ploys and meritless motions; there
is no assurance that this case would have been simpler, as the
defendants contend, if it were filed in state court. There is
also no authority that requires the plaintiff to have filed this
case in state court. In addition, the defendants could have
simply paid the English Judgment that was owed to the plaintiff
rather than take every conceivable action to avoid payment.
Finally, it is ironic for the defendants to complain about the

length of time it took to decide the subject matter jurisdiction

 
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issues in this case when the plaintiff eventually prevailed on a
finding in the Court of Appeals that jurisdiction was indeed
proper. The plaintiff should not be penalized for successfully
litigating that there was jurisdiction in this Court -
jurisdiction which the defendants refused to accept.

The defendants do, however, argue persuasively that the
plaintiff should not receive attorneys’ fees and costs related
to the actions in Texas and Alabama. The plaintiff does not
purport to be a prevailing party in the Texas action, which
generated fees of $24,415.88. Tisdale Decl. 9 17. And the

plaintiff's Alabama action is ongoing. See d’Amico Dry d.a.c. Vv.

 

Nikka Finance, Inc. et al., 18cv284 (S.D. Ala.}). The costs of

 

the Alabama action are not costs incurred in enforcing the
English Judgment in this Court. This Court defers to the
Southern District of Alabama Court in that action to determine
whether the plaintiff's costs in that action are reasonable and

recoverable. See Matusick v. Erie Cty. Water Auth., 757 F.3d 31,

 

64 (2d Cir. 2014) (stating that a district court is given
“considerable discretion in determining what constitutes
reasonable attorney’s fees in a given case, mindful of the
court’s superior understanding of the litigation” (quotation
marks omitted)). According to the defendants, the plaintiff has
requested $847,608.29 in this motion for fees and costs related

to the Texas and Alabama matters. See Defs.’ Ex. B. Although the

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plaintiff contends that it is entitied to fees related to these
matters, it does not contest the defendants’ $847,608.29
calculation. The plaintiff is therefore not entitled to the
$847,608.29 in fees and costs related to the Texas and Alabama
matters.

The defendants also argue that the plaintiff should not be
entitled to recover on redacted entries and entries that contain
block billing, and thus request that any award to the plaintiff
be reduced by $246,991.36 plus an additional 50 percent
reduction of the remaining fees. But the redactions are minimal
enough, and the block-billed entries comprehensible enough, that
the Court can determine and assess the nature of the work

performed. See Zimmerman v. Portfolio Recovery Assocs., LLC, No.

 

O9cev4602, 2013 WL 6508813, at *11-12 (S.D.N.Y. Dec. 12, 2013);

CDO Plus Master Fund Ltd. v. Wachovia Bank, N.A., No. O7cv11078,

 

2011 WL 4526132, at *4 (S.D.N.Y¥. Sept. 29, 2011).

Finally, the defendants argue that the plaintiff’s expenses
are insufficientiy documented, and therefore unrecoverable,
because the expenses are not supported by separate invoices but
rather are only listed in the plaintiff’s general billing
records and in two declarations. The defendants add that the
plaintiff should not be reimbursed for meals, an expense for
which clients routinely do not agree to pay. See Themis Capital

v. Democratic Republic of Congo, No. O09cv1652, 2014 WL 4379100,

 

 
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at *12 (S.D.N.Y. Sept. 4, 2014). The defendants request that any
award to the plaintiff for expenses accordingly be reduced by 50
to 75 percent. The defendants’ arguments are not persuasive.

First, the expenses listed in the plaintiff’s billing
records are sufficiently clear to determine their connection to
this matter and their reasonableness. The cases cited by the
defendants to support their argument to the contrary involve
more specious expenses that were poorly documented. See

Hargroves v. City of New York, No. O3cvl668, 2014 WL 1270585, at

 

*23 (E.D.N.Y. Jan... 6, 2014), report and recommendation adopted,

 

No. O3cv1668, 2014 WL 1271039 (E.D.N.Y¥. Mar. 26, 2014); Robinson

v. City of New York, No. O5cv9545, 2009 WL 3109846, at *14

 

(S.D.N.¥. Sept. 29, 2009); see aiso Kronfeld v. Transworld

 

Airlines, Inc., 129 F.R.D. 598, 610 (S.D.N.Y¥. 1990) (involving
entries that provided virtually no information about the
expenses}. In this case, the plaintiff’s expenses are documented
adequately and are reasonable.

Second, the plaintiff contends, and its Exhibits D-1
through D-11 support, that the few, relatively inexpensive meals
listed as expenses were required by out-of-town travel. These
meals are compensable. See Lucky Brand Dungarees, Inc. v. Ally

Apparel Res., LiC, No. O5cev6757, 2009 WL 466136, at *6 (S.D.N.Y.

 

Feb. 25, 2009) (distinguishing between meals that are required

 
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by out-of-town travel and meals that are not and stating that
the latter are not compensable).

Other than the objections specified above, the defendants
do not object to any other aspects of the plaintiff’s fee
request. The defendants do not object to the hours plaintiff's
counsel spent litigating this matter. And the Court, in view of
its familiarity with this case’s extensive, contentious history,
finds the hours spent by plaintiff’s counsel, and the nature of
the work performed, to be reasonable. The defendants also do not
contest the hourly rates charged by plaintiff’s counsel. The
hourly rates charged - between $280 and $345 for a partner with
nearly forty years’ experience; between $110 and $290 for all
other attorneys, some of whom had extensive relevant experience;
and $135 or less for paralegals and legal assistants? - are also

thoroughly reasonable. See Navig8 Chemicals Asia Pte., Ltd. v.

 

Crest Energy Partners, LP, No. 15cv7639, 2015 WL 7566866, at *2

 

(S.D.N.Y¥. Nov. 24, 2015); Norland Enter. S. de R.L. v. C-Fuels

 

Am. Inc., No. 10cv9215, 2012 WL 13060077, at *2-3 (S.D.N.Y. dune
22, 2012}.

The plaintiff correctly claims that it is also entitled to
the fees its counsel accrued in making and litigating the fee

application itself. See Reed v. A.W. Lawrence & Co., 95 F.3d

 

 

3 Tisdale Decl. Gf 3-11; Pli.’s Exs. D1-Dil.

 
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1170, 1183 (2d Cir. 1996} (“[A]ttorneys’ fees for the
preparation of the fee application are compensable ... .”).
The time spent preparing and litigating this application, the
rates charged, and the nature of the work performed, see Pl.’s
Reply Ex. 1, are all reasonable, and attorneys’ fees should be
awarded for this work. The plaintiff is therefore entitled to
its requested $24,420 in attorneys’ fees and costs related to
this motion.

In sum, an attorneys’ fees and costs award of $898,807.44
to the plaintiff is appropriate in this case. See CARCO GROUP,

Inc. v. Maconachy, 718 F.3d 72, 85 (2d Cir. 2013) (noting that

 

district courts are given “wide latitude . . . to assess the
propriety of attorneys’ fees and costs requests”).
CONCLUSION
The Court has considered all the arguments raised by the
parties. To the extent not specifically addressed, the arguments
are either moot or without merit. For the reasons explained
above, the plaintiff’s motion for attorneys’ fees and costs is

granted in the amount of $898,807.44.

 

 
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The Clerk is directed to enter a fee award for the
plaintiff, and against the defendants, in the amount of
$898,807.44 for the plaintiff’s attorneys’ fees and costs.
SO ORDERED.

Dated: New York, New York _ / |
April 24, 2019 oof [n .

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John G. Koeltl
nited States District Judge

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